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            Exhibit 35
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                                                                 LATINFOOD US CORP
Accrual Basis                             Sales by Customer      Summary (Values in Home Currency)
                                                        January 1, 2015 through January 1, 2016




    SPO146      Supremo Supermarket, Elizabeth, NJ.       0.00       0.00     0.00      0.00      0.00   0.00     0.00   0.00      0.00
    SPO152      Twin City Supermarket, Elizabeth, NJ.     0.00       0.00   428.26      0.00   242.92    0.00    30.00   0.00      0.00
                Supremo Supermarket, Irvington, NJ.       0.00       0.00     0.00      0.00      0.00   0.00     0.00   0.00      0.00
    SP0153      Twin City Supermarket, Newark, NJ.        0.00       0.00     0.00      0.00      0.00   0.00     0.00   0.00      0.00
    SPO209      Food Fair Supermarket, Paterson, NJ.      0.00       0.00   271.49      0.00      0.00   0.00   362.22   0.00    362.00
TOTAL                                                     0.00       0.00   699.75      0.00   242.92    0.00   392.22   0.00    362.00




                                                                                                                                EXHIBIT




                                                                  ATTORNEYS EYES ONLY                                           LATINOOO477
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                                                          LATINFOOD US CORP
AccrualBasis                    Sales by Customer             Summary (Values in Home Currency)
                                                   January 1, 2015.through January 1, 2016


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    SPO146      0.00     0.00      0.00     0.00       0.00       0.00     0.00       0 00     0.00       0.00     0.00     0.00       0.00
    SP0152      0.00     0.00      0.00     0.00      0.00      461.72     0.00       0.00   356.12    600.00    121.54     0.00       0.00
                0.00     0.00      0.00     0.00      0.00        0.00     0.00       0.00     0.00       0.00     0.00     0.00       0.00
    SPO153      0.00     0.00      0.00     0.00      0.00        0.00     0.00       0.00     0.00       0.00     0.00     0.00       0.00
    SPO209      0.00   362.00     92.22   415.61      0.00        0.00     0.00     300.50     0.00    535.37      0.00   423.14     144.91
TOTAL           0.00   362.00     92.22   415.61      0.00      461.72     0.00     300.50   356.12   1,135.37   121.54   423.14     144.91




                                                              ATTORNEYS EYES ONLY                                                  LATINOOO478
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                                                               LATINFOOD US CORP
Accrual Basis                     Sales by Customer Summary (Values in Home Currency)
                                                    January 1, 201      through January 1,2016


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    SP0146        0.00     0.00    220.22   30.00       0.00      155 90    295.35    124.70      54.50   210.40    54.50   108.51     245.25
    SPO152      473.91     0.00    303.80    0.00       0.00      894.98     96.00      0.00     333.90    84.50    85.90   226.12        0.00
                  0.00     0.00      0.00    0.00       0.00         0.00     0.00      0.00       0.00     0.00     0.00     0.00        0.00
    SP0153        0.00     0.00      0.00    0.00       0.00         0.00     0.00      0.00       0.00     0.00     0.00     0.00       0.00
    SPO209       73.72   117.50    140.40    0.00     630.84      270.15    146.69     81.00     104.33   241.62     0.00   376.17      31.20
TOTAL           547.63   117.50    664.42   30.00     630.84     1,321.03   538.04    205.70     492.73   536.52   140.40   710.80     276.45




                                                                ATTORNEYS EYES ONLY                                                  LATINOOO479
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                                                                LATINFOOD US CORP
Accrual Basis                     Sales by Customer             Summary (Values in Home Currency)
                                                     January 1, 2015.through January 1, 2016


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    SPO146        0.00     0.00     27.25   109.00       0.00       81.75   109.00       0.00   136.25    54.50   27.25    27.25      27.25
    SPO152      400.01   381.21      0.00   137.76     246.67      202.01   171.40     383.22   217.12   175.35   62.40   372.33     146.72
                  0.00     0.00      0.00     0.00       0.00        0.00     0.00       0.00     0.00     0.00    0.00     0.00       0.00
    SPO153        0.00     0.00      0.00     0.00       0.00        0.00     0.00       0.00     0.00     0.00    0.00     0.00       0.00
    SPO209      163.01   542.02    141.29     0.00       0.00        0.00   120.00       0.00     0.00     0.00    0.00     0.00       0.00
TOTAL           563.02   923.23    168.54   246.76     246.67      283.76   400.40     383.22   353.37   229.85   89.65   399.58     173.97




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                                                            LATINFOOD US CORP
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Accrual Basis                     Sales by Customer             Summary (Values in Home Currency)
                                                     January 1, 2015 through January 1, 2016


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    SPO146      229.46    54.50    109.00    54.50      54.50
    SPO152      108.51   283.10    278.73    46.11      54.50


    SP0153        0.00     0.00      0.00     0.00       0.00
    SPO209        0.00     0.00      0.00     0.00       0.00
TOTAL           337.97   337.60    387.73   100.61     109.00




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